Case 17-65065-jwc     Doc 34     Filed 03/22/18 Entered 03/22/18 14:12:18        Desc
                                       Page 1 of 2


                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


 IN RE:                                         : CHAPTER 13
 LENORA ALECIA JONES                            : CASE NUMBER A17-65065-JWC
       DEBTOR                                   :

                     TRUSTEE’S SUPPLEMENTAL REPORT
                    FOLLOWING CONFIRMATION HEARING

        Nancy J. Whaley, Standing Chapter 13 Trustee to report back in ten (10)
        days following the Confirmation Hearing held on March 6, 2018:

        As to whether Debtor’s plan payments are current

        As to whether Debtor filed an amended plan

        The Attorney for the Trustee has reviewed the case as instructed and:

        Recommends dismissal because:

        Debtor’s plan payments remain delinquent

        Debtor failed to file an amended plan

        Please enter an Order of Dismissal

        This the 22nd day of March, 2018.

                              ___/s/_________________________
                              Julie M. Anania, Attorney for Chapter 13 Trustee
                              GA Bar Number 477064
                              303 Peachtree Center Ave., NE
                              Suite 120
                              Atlanta, GA 30303
 /mam                         (678) 992-1201
  Case 17-65065-jwc        Doc 34   Filed 03/22/18 Entered 03/22/18 14:12:18              Desc
                                          Page 2 of 2
                                 CERTIFICATE OF SERVICE
Case No: A17-65065-JWC

This is to certify that I have this day served the following with a copy of the foregoing Chapter 13
Trustee's Supplemental Report Following Confirmation Hearing by depositing in the United
States mail a copy of same in a properly addressed envelope with adequate postage thereon.

Debtor(s):
LENORA ALECIA JONES
631 BRIAR HILL LN
UNIT A
RIVERDALE, GA 30274




By Consent of the parties, the following have received an electronic copy of the foregoing
Chapter 13 Trustee's Supplemental Report Following Confirmation Hearing through the
Court's Electronic Case Filing system.

Attorney for the Debtor(s):
THE SEMRAD LAW FIRM, LLC
rjsatlcourtdocs@gmail.com




This the 22nd day of March, 2018.


/s/____________________________________
  Julie M. Anania
  Attorney for the Chapter 13 Trustee
  State Bar No. 477064
  303 Peachtree Center Avenue, NE
  Suite 120
  Atlanta, GA 30303
  678-992-1201
